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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Citizens Insurance Company of America
                                               Plaintiff,
v.                                                           Case No.: 1:21−cv−02249
                                                             Honorable Jorge L. Alonso
Francesca's Midwest Holdings, Inc., et al.
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 26, 2021:


       MINUTE entry before the Honorable Jorge L. Alonso: Plaintiff's motion for
voluntary dismissal without prejudice [6] is granted. This case is dismissed without
prejudice. Civil case terminated. Notice mailed by Judge's staff (lf, )




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